    Case 1:25-cv-00527-JEB    Document 11-1   Filed 03/24/25   Page 1 of 25




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

____________________________________
PROJECT ON GOVERNMENT                )
OVERSIGHT, INC.                      )
                                     )
      Plaintiff,                     )
                                     )
      v.                             )         Civil Action No. 25-527 (JEB)
                                     )
DONALD J. TRUMP,          et al.,    )
              Defendants.            )
____________________________________)




        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
  IN SUPPORT OF PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
        Case 1:25-cv-00527-JEB                       Document 11-1                Filed 03/24/25              Page 2 of 25




                                                  TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ...........................................................................................................................1

FACTUAL BACKGROUND ..........................................................................................................3

STATUTORY BACKGROUND ....................................................................................................6

          The Presidential Records Act...............................................................................................8
          The Freedom of Information Act........................................................................................10
LEGAL STANDARD....................................................................................................................10

ARGUMENT ................................................................................................................................11

          I.         POGO IS LIKELY TO SUCCEED ON THE MERITS......................................... 11
          II.        POGO WILL SUFFER IRREPARABLE INJURY
                     ABSENT A PRELIMINARY INJUNCTION ........................................................16
          III.       DEFENDANTS WILL NOT BE HARMED
                     BY THE REQUESTED RELIEF...........................................................................19
          IV.        THE BALANCE OF EQUITIES AND PUBLIC INTEREST
                     FAVOR THE REQUESTED RELIEF ...................................................................20

CONCLUSION ..............................................................................................................................20




                                                                     i
         Case 1:25-cv-00527-JEB                         Document 11-1                 Filed 03/24/25               Page 3 of 25




                                                 TABLE OF AUTHORITIES

Cases

Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) ............................................................. 10

Am. Fed’n of State, Cty. & Mun. Emps. v. Social Sec. Admin., No. 25-cv-596-ELH (D. Md. Mar.
  20, 2025) ................................................................................................................................... 15

Armstrong v. Bush, 924 F.2d 282 (D.C. Cir. 1991) .................................................................... 8

Armstrong v. EOP, 90 F.3d 553, 555 (D.C. Cir. 1996) ................................................................ 11

Changji Esquel Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) ............................ 11

CREW v. Off. of Admin., 566 F.3d 219, 222 (D.C. Cir. 2009)...................................................... 12

CREW v. U.S. DOGE Serv., No. 25-cv-511 (CRC), 2025 U.S. Dist. LEXIS 42869, *54 (D.D.C.
  Mar. 20, 2025).................................................................................................................... passim

Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976) ....................................................... 10

Doe v. Musk, No. 25-0462-TDC, 2025 U.S. Dist. LEXIS 49603 (D. Md.) .................................. 15

Fed’n Of Lab. & Congr. Of Indus. Orgs. v. U.S. Dep’t of Labor, ................................................ 14

Kissinger v. Reporters Comm. for Freedom of the Press, 445 U.S. 136, 156 (1980) .................. 10

Meyer v. Bush, 981 F.2d 1288, 1293 (D.C. Cir. 1993) ................................................................. 12

Nken v. Holder, 556 U.S. 418, 435 (2009) ................................................................................... 20

Open Cmtys. All. v. Carson, 286 F. Supp 3d 148, 179 (D.D.C. 2017) ......................................... 20

U.S. Dep’t of State v. Ray, 502 U.S. 164, 173 (1991) .............................................................. 10

Statutes

5 U.S.C. § 552(b) ......................................................................................................................... 10

5 U.S.C. § 552(e) .......................................................................................................................... 11

36 C.F.R. § 102-193.10(a) .............................................................................................................. 6

36 C.F.R. § 1230.14 ...................................................................................................................... 8



                                                                        ii
        Case 1:25-cv-00527-JEB                         Document 11-1                 Filed 03/24/25               Page 4 of 25




44 U.S.C. § 2902-09 ....................................................................................................................... 6

44 U.S.C. § 3101-07 ............................................................................................................... 6, 7, 8

44 U.S.C. § 3301-24 ................................................................................................................... 6, 7

44 U.S.C. § 2201(2)(A)(i) ............................................................................................................... 9

44 U.S.C. § 2202 ............................................................................................................................. 9

44 U.S.C. § 2203(a) ........................................................................................................................ 9

44 U.S.C. § 2204(a) ...................................................................................................................... 10

44 U.S.C. § 2204(c) ...................................................................................................................... 10

44 U.S.C. § 2209(a)(1)-(2).............................................................................................................. 9

44 U.S.C. § 2911 ............................................................................................................................. 9

44 U.S.C. § 2911(a) ....................................................................................................................... 8

44 U.S.C. §§ 2101-18 ..................................................................................................................... 6

Other Authorities

Pub. L. 11113-187, 128 Stat. 2003 (2014)...................................................................................... 9




                                                                      iii
      Case 1:25-cv-00527-JEB         Document 11-1        Filed 03/24/25      Page 5 of 25




                                       INTRODUCTION

       From its inception the U.S. Department of Government Efficiency (“DOGE”), U.S.

DOGE Service (“USDS”), and U.S. DOGE Service Temporary Organization (“USDSTO”)

(collectively “DOGE”) have defied laws and norms, and challenged the authority of the judiciary

to oversee their actions. Reaching into the corners of nearly every government agency, DOGE

has impacted over one hundred thousand career government employees, numerous federal

programs and policies, and U.S. citizens. Yet, in the face of mounting evidence that DOGE

wields enormous authority with an almost never-before seen power and fury, DOGE insists it is

not an agency subject to the records regime of the Federal Records Act (“FRA”) and the

transparency requirements of the Freedom of Information Act (“FOIA”). With this lawsuit

Plaintiff Project On Government Oversight, Inc. (“POGO”) asks this Court to conclude that, as

other courts recently have concluded, DOGE is an agency and therefore judicially accountable

for any failure to maintain and preserve all DOGE records as the FRA requires pursuant to a

National Archives and Records Administration (“NARA”)-approved recordkeeping policy

formulated and implemented by DOGE’s leadership.

       DOGE’s refusal to acknowledge its legal obligations under the FRA has potentially

profound implications for Plaintiff and the public at large. Given the substantial independent

authority DOGE yields, the records of how and why it yields that power are of enormous interest

and import now and in the future. To ensure the preservation of those records Plaintiff sought

assurances from Defendants that all DOGE records will be collected, retained, and preserved as

the FRA requires during the pendency of Plaintiff’s lawsuit. Defendants, however, refused to

provide those assurances. Instead, Department of Justice (“DOJ”) counsel stated merely that

“USDS has taken all steps to preserve all USDS records consistent with its obligations under the
      Case 1:25-cv-00527-JEB           Document 11-1         Filed 03/24/25      Page 6 of 25




PRA [Presidential Records Act].” This tepid response, implicitly denying DOGE’s obligations

under the FRA and unsupported by any evidence or explanation, raises a very real threat of

irreparable harm absent this Court’s immediate intervention. Indeed, DOGE’s past actions in

contravention of their recordkeeping responsibilities amplify this threat.

       To prevent this harm, POGO seeks a preliminary injunction requiring Defendants to

collect, retain, and preserve their records, including all electronic records, pursuant to a

recordkeeping policy that complies with the FRA and guidance from NARA. Such an injunction

would prevent any irretrievable removal, loss, or destruction of DOGE records during the

pendency of this case, while merely requiring Defendants to do what the FRA already mandates.

       Defendants likely will argue that the unsupported statement from their counsel that they

have taken all steps to preserve their records consistent with the PRA renders any injunction

unnecessary. Defendants are not only wrong, but their insistence that the PRA governs their

records exposes their desire to remain free from any judicial scrutiny. DOGE is operating with

“unusual secrecy,” CREW v. U.S. DOGE Serv., No. 25-cv-511 (CRC), 2025 U.S. Dist. LEXIS

42869, *54 (D.D.C. Mar. 20, 2025) (“CREW v. DOGE”), with employees that “may not fully

appreciate their obligations to preserve federal records,” id., and “may not be steeped in its

document retention policies.” Id. at 55. The secrecy with which DOGE operates, the ongoing

reports of use by DOGE employees of Signal, an encrypted messaging apps with auto-delete

functions, and the apparent willingness of this administration to ignore its legal obligations and

court orders underline the need here for an injunction requiring Defendants to preserve all DOGE

records consistent with the FRA.




                                                  2
     Case 1:25-cv-00527-JEB         Document 11-1       Filed 03/24/25      Page 7 of 25




                               FACTUAL BACKDGROUND

       Even prior to assuming office, Defendant Donald J. Trump announced he was forming a

Department of Government Efficiency “to dismantle Government Bureaucracy, slash excess

regulations, cut wasteful expenditures, and restructure Federal Agencies.” CREW v. DOGE, 2025

U.S. Dist. LEXIS 42869, *3 (cleaned up). He initially tapped Elon Musk and Vivek Ramaswamy

to head DOGE. President Trump formalized that announcement on his first day in office with

Executive Order 14158, entitled “Establishing and Implementing the President’s ‘Department of

Government Efficiency.’” (“DOGE EO1”). Hours after he issued the DOGE EO1, Ramaswamy

bowed out leaving DOGE headed solely by Musk. Compl. ¶ 4.

       Section one of the DOGE EO1 states that its purpose is to “establish[] the Department of

Government Efficiency to implement the President’s DOGE Agenda, by modernizing Federal

technology and software to maximize governmental efficiency and productivity.” Section three

renamed the United States Digital Service as the United States DOGE Service (“USDS”)

“reorganized . . . with the Executive Office of the President (“EOP”).” CREW v. DOGE, U.S.

Dist. LEXIS 42869, *5. The DOGE EO1 further establishes a USDS Administrator reporting to

the White House Chief of Staff and establishes the U.S. DOGE Service Temporary Organization,

(“USDSTO”) headed by the USDS Administrator and charged with “advancing the President’s

18-month DOGE agenda,” DOGE EO1, Section 3(b).

       The DOGE EO1 also directs each agency, in consultation with USDSTO, to establish a

DOGE team “within their respective Agencies” consisting of at least four employees, who may

include Special Government Employees. Agency heads are directed to coordinate the work of

their DOGE Team Lead with USDS. Section four directs the USDSTO Administrator to

“commence a Software Modernization initiative to improve the quality and efficiency of




                                               3
      Case 1:25-cv-00527-JEB          Document 11-1        Filed 03/24/25      Page 8 of 25




government-wide software, network infrastructure, and information technology (IT) systems,”

working with agency heads. DOGE EO1, Sections 3(c) and 4(a).

       These provisions mirror what Musk and Ramaswamy had promised in a November 20,

2024 opinion piece in the Wall Street Journal. Specifically, “they declared their intent to ‘advise

DOGE at every step to pursue three major kinds of reform: regulatory rescissions, administrative

reductions, and cost savings.’” CREW v. DOGE, U.S. Dist. LEXIS 42869, *3 (citation omitted).

The two further “revealed that, from its inception, a major objective of the new department

would be ‘mass head-count reductions across the federal bureaucracy.’” Id. at *4 (citation

omitted).

       On February 11, 2025, Trump issued Executive Order 14210 (“DOGE EO2”) that lays

out DOGE’s role in “eliminating waste, bloat, and insularity” and its mandate to work with

agency heads to create and implement hiring plans, including anointing DOGE with the power to

decide which vacancies should be filled. DOGE EO2, Sections 1 and 3(b)(i). For new hires, the

Order directs agencies to consult with the DOGE Team Lead. DOGE EO2, Section 3(b)(ii). The

Order further directs agencies “not to fill any vacancies for career appointments that the DOGE

Team Lead assesses should not be filled, unless the Agency Head determines the positions

should be filled.” DOGE EO2, Section 3(b)(ii); CREW v. DOGE, U.S. Dist. LEXIS 42869, *8

(cleaned up). The Order obligates the Administrator to “submit a report to the President

regarding implementation of this order, including a recommendation as to whether any of its

provisions should be extended, modified, or terminated.” DOGE EO2, Section 3(f).

       On February 3, 2025, the White House confirmed publicly that Musk was officially

joining the federal government as a special government employee and that he would submit a

financial disclosure report that would not be made public. Theodore Schleifer & Eric Lipton,




                                                 4
      Case 1:25-cv-00527-JEB         Document 11-1       Filed 03/24/25      Page 9 of 25




“Elon Musk’s Financial Disclosure Will Not Be Made Public,” New York Times, Feb. 11, 2025,

https://www.nytimes.com/2025/02/11/us/politics/elon-musk-finances.html?smid=nytcore-ios-

share&referringSource=article.Share. According to public reporting, Musk received both a

government email address and an office. See, e.g., Francesca Chambers, “Trump makes DOGE

head Elon Musk a ‘special government employee’ amid accusations of a takeover, USA Today,

Feb. 3, 2025, https://www.usatoday.com/story/news/politics/2025/02/03/doge-elon-musk-

special-employee-federal-government/78185365007/. But the Administration has refused to

acknowledge his precise role, at times denying he is in charge of DOGE despite President

Trump’s assertions to the contrary. See Andrea Shalal & Nandita Bose, “Trump appears to

contradict White House, says Musk in charge of DOGE,” Reuters, Feb. 20, 2025,

https://www.reuters.com/world/us/trump-appearws-contradict-white-house-says-elon-musk-

charge-doge-2025-02-20/.

       This secrecy carries over to the work of DOGE and the identities of its employees. As

Judge Cooper noted in CREW v. DOGE,

       USDS’s operations thus far have been marked by unusual secrecy . . . For instance,
       USDS reportedly installed an outside server at OPM to store government staffers’
       personal information, including their names and email accounts . . . USDS
       employees have also reportedly declined to identify themselves to career officials
       on request . . . Indeed, Musk has said that posters who released the names of USDS
       employees online “committed a crime.”

U.S. Dist. LEXIS 42869, *13-14 (cleaned up).

       On February 21, 2025, POGO filed suit against Donald Trump, DOGE, USDS,

USDSTO, and the then-unnamed USDSTO Administrator. The complaint alleges that

Defendants, as an agency, are subject to the recordkeeping requirements of the FRA and their

records are publicly accessible through the FOIA. The complaint further challenges the failure of




                                                5
     Case 1:25-cv-00527-JEB         Document 11-1        Filed 03/24/25     Page 10 of 25




the USDSTO Administrator to create and implement a recordkeeping policy that treats the

records of DOGE, USDS, and USDSTO as agency records under the FRA.

       By letter dated February 25, 2025, to the White House Counsel (Exhibit A hereto),

POGO asked for assurances within one week that all DOGE and DOGE Service records will be

collected, maintained, and preserved as of January 20, 2025, as the FRA requires. See Exhibit A.

Receiving no response, counsel for POGO contacted Department of Justice (“DOJ”) counsel by

email on March 11, 2025, reiterating POGO’s request for assurances that it made to the White

House. See Exhibit B. By email dated March 14, 2025, DOJ counsel provided the following one-

sentence response: “I can now confirm that USDS has taken all steps to preserve all USDS

records consistent with its obligations under the PRA.” See id. This statement echoes media

reports stating that White House officials and DOGE advisors claim that the PRA applies. Brent

D. Griffiths, “Elon Musk said DOGE would provide ‘maximum transparency.’ It may be years

before its records are public,” Business Insider, Feb. 7, 2025, https://www.businessinsider.com/

musk-doge-records-public-information-foia-presidential-records-act-2025-2; Sean Michael

Newhouse, “Multiple groups file lawsuits to get DOGE records,” Government Executive, Feb.

27, 2025, https://www.govexec.com/oversight/2025/02/multiple-groups-file-lawsuits-get-doge-

records/403343/.

                               STATUTORY BACKGROUND

                                    The Federal Records Act

       The FRA is a collection of statutes that governs the creation, management, and disposal

of federal or agency records. 44 U.S.C. §§ 2101-18, 2902-09, 3101-07, and 3301-24. Congress

enacted the FRA to ensure “[a]ccurate and complete documentation of the policies and

transactions of the Federal Government.” 36 C.F.R. § 102-193.10(a). Toward that end, the FRA




                                                6
     Case 1:25-cv-00527-JEB          Document 11-1        Filed 03/24/25     Page 11 of 25




requires federal agencies to establish; (1) a program to make and preserve agency records; (2)

effective controls over the creation, maintenance, and use of records; and (3) safeguards against

the removal or loss of records. 44 U.S.C. §§ 3101, 3102, and 3105.

       The FRA specifically mandates that “[t]he head of each Federal agency shall make

and preserve records containing adequate and proper documentation of the organization,

functions, policies, decisions, procedures, and essential transactions of the agency[.]” 44

U.S.C. § 3101 (emphasis added). The FRA defines the term “records” to include “all books,

papers . . . or other documentary materials, regardless of physical form or characteristics . . .

made or received by an agency of the United States Government under Federal law or in

connection with the transaction of public business and preserved or appropriate for

preservation by that agency . . . as evidence of the organization, functions, policies,

decisions, procedures, operations or other activities of the Government or because of the

informational value of data in them.” 44 U.S.C. § 3301.

       The FRA provides the exclusive procedure by which all federal records may be

disposed of or destroyed. See 44 U.S.C. § 3314. Under its provisions, federal records may

be disposed of or destroyed only with the authorization of the Archivist either through

General Records Schedules or NARA-approved agency-specific disposition schedules. 44

U.S.C. §§ 3303a(a) and (d).

       The FRA generally requires that federal records, including those generated in

personal electronic messaging accounts, be preserved in a government recordkeeping

system. Consistent with this obligation the FRA prohibits agency officials from “create[ing]

or send[ing] a record using a non-official electronic messaging account unless such officer

or employee—(1) copies an official electronic messaging account of the officer or employee

in the original creation or transmission of the records; or (2) forwards a complete copy of



                                                7
     Case 1:25-cv-00527-JEB         Document 11-1        Filed 03/24/25     Page 12 of 25




the record to an official electronic messaging account of the officer or employee not later

than 20 days after the original creation or transmission of the record.” 44 U.S.C. § 2911(a).

       To prevent the unlawful destruction or removal of records the FRA creates a “system

of administrative enforcement.” Armstrong v. Bush, 924 F.2d 282, 284 (D.C. Cir. 1991).

This system imposes obligations on both agency heads and the Archivist of the United

States. With respect to agency heads the FRA provides that if they become aware of “any

actual, impending, or threatened unlawful removal, defacing, alteration, corruption, deletion,

erasure, or other destruction of records in the custody of the agency” they must “notify the

Archivist” and “with the assistance of the Archivist . . . initiate action through the Attorney

General for the recovery” of such records. 44 U.S.C. § 3106(a); see also 36 C.F.R. §

1230.14 (implementing NARA regulation detailing how agencies “must report promptly any

unlawful or accidental removal, defacing, alteration, or destruction of records in the custody

of that agency to NARA”).

                                  The Presidential Records Act

       In response to presidential misconduct revealed by the Watergate scandal, Congress

enacted the PRA in 1978 to establish public ownership of presidential and vice-presidential

records, to impose record-keeping requirements on the President and Vice President, and to

authorize the NARA to preserve and make publicly available presidential records. See Carl

Bretscher, The President and Judicial Review Under the Records Act, 60 Geo. Wash. L.

Rev., 1477, 1483 (1992) (PRA passed “to prevent a repeat of Watergate’s legal drama

surrounding ownership of presidential records”). Toward that end, the PRA specifies that “[t]he

United States shall reserve and retain complete ownership, possession, and control of

Presidential records[.]” 44 U.S.C. § 2202.

       The PRA directs the President to “take all such steps as may be necessary to assure that



                                                8
     Case 1:25-cv-00527-JEB            Document 11-1        Filed 03/24/25      Page 13 of 25




the activities, deliberations, decisions, and policies that reflect the performance of his

constitutional, statutory, or other official or ceremonial duties are adequately documented and

that such records are maintained as Presidential records[.]” 44 U.S.C. § 2203(a). Critically here,

through the PRA Congress explicitly removed from the definition of presidential records “any

documentary materials that are . . . official records of an agency” under the APA’s definition of

“agency.” 44 U.S.C. § 2201(2)(A)(i). See also Armstrong v. EOP, 1 F.3d 1274, 1292 (D.C. Cir.

1993).

         In 2014, Congress amended both the PRA and the FRA through the Presidential and

Federal Records Act Amendments of 2015, Pub. L. 11113-187, 128 Stat. 2003 (2014). The

Amendments sought to “modernize[] records management by focusing more directly on

electronic records.” NARA Press Release, “National Archives Welcomes Presidential and

Federal Records Act Amendments of 2015,” Dec. 1, 2014, https://www.archives.gov/press/

press-releases/2015/nr15-23.html. For both federal and presidential records the Amendments

explicitly restrict the use of non-official electronic messaging accounts to create or send records

unless a complete version is preserved in an official electronic messaging account. See 44

U.S.C. § 2911 (federal records), 44 U.S.C. § 2209(a)(1)-(2) (presidential records). To

implement the 2014 Amendments, NARA issued guidance confirming that a “complete”

version of an electronic record—including electronic messages generated in non-official

accounts—should include the record’s associated metadata, attachments, and functionality. See,

e.g., NARA Bulletin 2015-02, July 29, 2015, https://www.archives.gov/records-

mgmt/bulletins/2015/2015-02.html; NARA Bulletin 2015-04, Sept. 15, 2015,

https://www.archives.gov/records-mgmt/bulletins/2015/2015-04.html.

         Beginning five years after a President leaves office, the public can access presidential




                                                  9
     Case 1:25-cv-00527-JEB            Document 11-1         Filed 03/24/25       Page 14 of 25




records from NARA through the procedures the FOIA establishes. 44 U.S.C. § 2204(c).

Although some materials can be withheld or redacted for an extended period of time, they too

eventually become publicly available. 44 U.S.C. § 2204(a).

                                  The Freedom of Information Act

        The FOIA, enacted in 1966, established a statutory right of public access upon

request to documents held by Executive Branch agencies. The FOIA carries a “strong

presumption in favor of disclosure,” U.S. Dep’t of State v. Ray, 502 U.S. 164, 173 (1991),

and its “limited exceptions do not obscure the basic policy that disclosure, not secrecy, is the

dominant objective of the Act.” Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976).

        Under the FOIA, virtually every record of a federal agency must be made publicly

available upon request unless it is specifically exempted pursuant to one or more of the

FOIA’s nine exemptions. 5 U.S.C. § 552(b). Those government entities that fall outside of the

APA’s definition of “agency” are not subject to the FOIA. See, e.g., Kissinger v. Reporters

Comm. for Freedom of the Press, 445 U.S. 136, 156 (1980).

                                       LEGAL STANDARD

        To qualify for a preliminary injunction the movant “must establish (1) that he is likely to

succeed on the merits, (2) that he is likely to suffer irreparable harm in the absence of

preliminary relief, (3) that the balance of equities tips in his favor, and (4) that an injunction is in

the public interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (cleaned up). While

the movant must demonstrate that all four factors weigh in favor of granting preliminary

injunctive relief, courts in this Circuit historically have used a “sliding scale” approach that

recognizes courts may award relief when “a strong showing on one factor could make up for a

weaker showing on another.” Changji Esquel Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C.

Cir. 2022) (cleaned up) (noting, however, the sliding-scale approach “is arguably in tension with


                                                   10
     Case 1:25-cv-00527-JEB           Document 11-1        Filed 03/24/25      Page 15 of 25




intervening Supreme Court decisions” but that the D.C. Circuit “[i]n the past ha[s] noted this

tension but reserved the question of whether the sliding-scale approach remains valid.”).

       Here, regardless of which standard applies, Plaintiff is entitled to a preliminary injunction

requiring Defendants to maintain and preserve all agency records pursuant to recordkeeping

guidance that conforms with the FRA and NARA guidance.

                                          ARGUMENT

       I.      POGO IS LIKELY TO SUCCEED ON THE MERITS.

       The gravamen of POGO’s complaint is that collectively DOGE, USDS, and USDSTO are

an agency and therefore must comply with the recordkeeping requirements of the FRA pursuant

to recordkeeping guidance issued by the Administrator. Controlling precedent and all the

evidence available to date establish conclusively DOGE’s agency status.

       The D.C. Circuit recognized in Armstrong v. EOP, 90 F.3d 553, 555 (D.C. Cir. 1996),

that “the coverage of the FRA is coextensive with the definition of ‘agency’ in the FOIA[.]” The

FOIA in turn defines “agency” expansively to include ‘any executive department, military

department, Government corporation, Government controlled corporation, or other establishment

in the executive branch of the Government (including the Executive Office of the President), or

any independent regulatory agency.” 5 U.S.C. § 552(e).

       Courts have formulated a three-factor test to determine whether an entity alleged to be an

agency within the meaning of the FOIA (and the FRA) is “substantially independent” of the

President and therefore has agency status or instead functions “solely to advise and assist the

President” and therefore lacks agency status. Meyer v. Bush, 981 F.2d 1288, 1293 (D.C. Cir.

1993). That three-part test considers: “how close operationally the group is to the President, what

the nature of its delegation from the President is, and whether it has a self-contained structure.”




                                                 11
     Case 1:25-cv-00527-JEB          Document 11-1        Filed 03/24/25      Page 16 of 25




Id. A conclusion that “an EOP unit is subject to FOIA” as a federal agency must be based on “a

finding that the entity in question ‘wielded substantial authority independently of the President.’”

CREW v. Off. of Admin., 566 F.3d 219, 222 (D.C. Cir. 2009).

       Applying the three-factor test to DOGE based on the facts known to date demonstrates

POGO will likely succeed in establishing DOGE is an agency wielding substantial independent

authority. Judge Cooper reached this very conclusion in an opinion he recently issued in CREW

v. DOGE. First, Judge Cooper pointed to the executive orders governing DOGE. The first, in

establishing DOGE, “appears to give USDS the authority to implement the DOGE Agenda, not

just to advise the President in doing so.” U.S. Dist. LEXIS 42869, *34 (cleaned up). The text of

Executive Order 14158 confirms the correctness of this conclusion by defining its purpose as

“establish[ing] the Department of Government Efficiency to implement the President’s DOGE

Agenda.” (emphasis added). Further President Trump’s subsequent executive order concerning

DOGE:

       directs that agencies ‘shall not fill any vacancies for career appointments that the
       DOGE Team Lead assesses should not be filled, unless the Agency Head
       determines the positions should be filled’ . . . [and] grants the USDS Team Lead
       the power to keep vacant career positions open unless an agency overrides that
       decision.

U.S. Dist. LEXIS 42869, *36. This second executive order “appears to contemplate that this

authority will be exercised independent of the President.” Id.

       Second, Judge Cooper relied on the public statements of Elon Musk and President

Trump, which “indicate that USDS is in fact exercising substantial independent authority.” U.S.

Dist. LEXIS 42869, *34. As he noted, at DOGE’s “inception, President Trump trumpeted that

USDS would have the power to ‘to [sic] dismantle Government Bureaucracy, slash excess

regulations, cut wasteful expenditures, and restructure Federal Agencies.’” Id. (citation omitted).




                                                12
     Case 1:25-cv-00527-JEB          Document 11-1         Filed 03/24/25      Page 17 of 25




As for Musk, he also “indicated that USDS would take aggressive action to pursue its agenda,”

and that Musk and Ramaswamy “also suggested that USDS would have the power to identify

regulations due for the chopping block.” Id. at *37. In a more recent statement, “Musk noted . . .

that he plans to use USDS to reduce the federal budget by $2 trillion,” something that Judge

Cooper noted “would require more than mere advice.” Id. These and other statements Judge

Cooper outlined “suggest that the President and USDS leadership view the department as

wielding decision-making authority to make cuts across the federal government.” Id.

       Third, Judge Cooper catalogued “USDS’s actions to date [that] demonstrate its

substantial authority over vast swathes of the federal government.” U.S. Dist. LEXIS 42869,

*38. Those actions include: (1) decimating USAID, including placing nearly all of its employees

on administrative leave (what Musk termed “feeding USAID into the wood chipper”), id. at *37;

(2) eliminating 104 DEI-related contracts with the federal government; and (3) terminating 89

contracts with the Department of Education. Id. at *38. As Judge Cooper noted, “[d]oing any of

those three things would appear to require substantial independent authority; to do all three

surely does.” Id. at *39.

       Additional actions by DOGE that demonstrate its substantial independent authority

include gaining “access to sensitive data and payment systems across federal agencies, and

potentially to classified information, even over the objection of officials within those agencies.”

Id. They also include the “Fork in the Road deferred resignation offer sent to all federal

employees”—a letter mirroring one Musk sent to Twitter employees upon his acquisition of

Twitter. Id.

       Notably, since Judge Cooper issued his memorandum opinion in CREW v. DOGE, new

details have emerged regarding other actions DOGE has taken that indicate its substantial




                                                 13
     Case 1:25-cv-00527-JEB           Document 11-1        Filed 03/24/25      Page 18 of 25




independent authority. For example, on March 12, 2025, it was reported that “EPA is giving

more authority to the Elon-Musk-backed Department of Government Efficiency,” specifically

“that DOGE must now sign off on any agency expenditure of more than $50,000 . . . as well as

actions with no associated costs that could later create them.” Eric Katz, “EPA begins

eliminating offices as DOGE tightens grip on nearly all agency spending,” Government

Executive, Mar. 12, 2025, https://www.govexec.com/management/2025/03/epa-begins-

eliminating-offices-doge-tightens-grip-nearly-all-agency-spending/403684/?oref=ge-home-top-

story.

         Just as significant, the impact of DOGE’s actions is becoming more apparent. For

example, a “small outpost” of the National Nuclear Security Administration “has lost a huge

cadre of scientists, engineers, safety experts, project officers, accountants and lawyers” as a

result of the DOGE-offered buyouts and DOGE-mandated cuts. Sharon LaFraniere, Minho Kim

& Julie Tate, “DOGE Cuts Reach Key Nuclear Scientists, Bomb Engineers and Safety Experts,”

New York Times, Mar. 17, 2017, https://www.nytimes.com/2025/03/17/us/politics/federal-job-

cuts-nuclear-bomb-engineers-scientists.html. DOGE’s actions “are threatening the muscle and

bone of operations that involve national security or other missions at the very heart of the federal

government’s responsibilities.” Id.

         Relying on comparable facts Judge Bates in Am. Fed’n Of Lab. & Congr. Of Indus. Orgs.

v. U.S. Dep’t of Labor, concluded that for purposes of the Economy Act DOGE is an agency.

No. 25-0339 (D.D.C. Feb. 14, 2025), ECF No. 34. Among other things, “USDS is coordinating

teams across multiple agencies with the goal of reworking and reconfiguring agency data,

technology, and spending.” These activities “[are] not the stuff of mere advice and assistance.”

Id. at 7. In reaching this conclusion the Court compared the definition of agency in the Economy




                                                 14
     Case 1:25-cv-00527-JEB         Document 11-1        Filed 03/24/25     Page 19 of 25




Act to similar definitions of agency in the FOIA and Administrative Procedure. See also Am.

Fed’n of State, Cty. & Mun. Emps. v. Social Sec. Admin., No. 25-cv-596-ELH (D. Md. Mar. 20,

2025), slip op. at 109-11 (agreeing with Judges Bates and Cooper that DOGE is an agency).

       Similarly, in Doe v. Musk, No. 25-0462-TDC, 2025 U.S. Dist. LEXIS 49603 (D. Md.),

the court considered whether DOGE’s actions to shut down USAID violated the Constitution,

including the Appointments Clause. The court catalogued the numerous actions DOGE had taken

“without any apparent advanced approval by agency leadership” at the Department of Education,

NIH, the Department of Agriculture, the Department of Energy, the National Nuclear Security

Administration, USAID, and FEMA. Id. at *9-10. The court noted that similarly to USAID Musk

was involved in shutting down CFPB’s headquarters. Id. at *45. The absence of any “formal

legal authority” conferred on Musk to take these actions did not overcome the ‘actual authority”

that Musk had exerted over USAID. Id. at *49. Although this case did not hinge on DOGE’s

status as an agency, its recognition of the extensive power DOGE unilaterally wields supports

DOGE’s agency status here.

       Judge Cooper also determined that DOGE satisfies the third factor for agency status—the

extent to which an agency has a self-contained structure. Specifically, “USDS has a defined staff:

the USDS Administrator, a temporary organization operating within USDS, and DOGE teams

that are embedded outside USDS within each executive branch agency.” 2025 U.S. Dist. LEXIS

42869, *40. Moreover, “USDS also retains the authority to consult with agency heads regarding

the selection of the outside USDS teams, thereby exerting influence over employees across

federal agencies.” Id.




                                               15
     Case 1:25-cv-00527-JEB            Document 11-1        Filed 03/24/25      Page 20 of 25




       Taken as a whole, the evidence detailed by Judge Cooper firmly establishes that DOGE is

an agency under the FRA (and correspondingly under the FOIA).1 Accordingly Plaintiff has a

likelihood of success on the merits.

       II.     POGO WILL SUFFER IRREPARABLE INJURY ABSENT A
               PRELIMINARY INJUNCTION.

       POGO will suffer irreparable injury absent a preliminary injunction requiring Defendants

to comply with the requirements of the FRA in maintaining and preserving their records. POGO

routinely uses FOIA requests as a basis for its reporting and policy reforms. Compl. ¶¶ 5-6. To

date, DOGE has been a focus of several POGO stories, such as a March 7, 2025 story entitled

“Musk’s Deep Financial Ties to Top Feds Revealed,” a February 18, 2025 story entitled “DOD

Contractor Hires Trump-Aligned Lobbyists to Tackle DOGE,” and a February 6, 2025 story

entitled “Elon Musk’s DOGE Teams Raise Vetting, Ethics Concerns.” Without access to FOIA

as a reporting tool, POGO will be constrained in its ability to document DOGE actions.

Accordingly, absent the requested relief POGO—and the public at large—face harm from the

likely destruction and failure to capture all agency records by DOGE and its several components.

       As a direct consequence of its agency status, DOGE is governed by the FRA. Yet DOGE

has resisted that conclusion, insisting instead it is subject to the PRA. To be sure, both statutes

impose recordkeeping obligations on those entities subject to them. But under the PRA

constitutional considerations shield the President from virtually any judicial review while in

office, leaving him free to defy the statute’s mandates. Indeed, during his first term in office

Trump faced litigation over his document destruction practices, see, e.g., Rebekah Entralgo,



1
 Judge Cooper acknowledged much of this evidence “derives from media reports” that DOGE
chose not to refute. 2025 U.S. Dist. LEXIS 42869, *41. But refuting this mountain of evidence
seems highly unlikely, particularly given this Court’s observation in Am. Fed’n Of Lab. &
Congr. Of Indus. Orgs. that DOGE’s work “is not the stuff of mere advice and assistance.”

                                                 16
     Case 1:25-cv-00527-JEB           Document 11-1        Filed 03/24/25      Page 21 of 25




“Trump Sued For Allegedly Violating Presidential Records Act, NPR, June 22, 2017,

https://www.npr.org/sections/thetwo-way/2017/06/22/533977417/trump-sued-for-allegedly-

violating-presidential-records-act, and a criminal indictment for leaving office with classified

presidential records.

       This is far from an abstract concern. According to a recently filed lawsuit, a Musk

employee working with DOGE set up a new server at OPM that bypassed federal law and was

intended for sending government-wide emails. See Compl. ¶ 47. Similarly, in February it was

reported that OPM had ordered DOGE employees to stop using the encrypted messaging app

Slack “while government lawyers attempt to transition the agency to one that is not subject to the

Freedom of Information Act[.]” Jason Koebler & Joseph Cox, “DOGE Employees Ordered to

Stop Using Slack While Agency Transitions to a Records System Not Subject to FOIA,

404media, Feb. 5, 2025, https://www.404media.co/doge-employees-ordered-to-stop-using-slack-

while-agency-transitions-to-a-records-system-not-subject-to-foia/. Nevertheless, as more recent

reporting confirms, DOGE employees continue to use Slack. See CREW v. DOGE, 2025 U.S.

Dist. LEXIS 42869, *53. Moreover Musk—the functional leader of DOGE—has “used the social

media platform X to solicit job applications for USDS and to poll the public about courses of

action that USDS is considering.” Id.

       At the same time, DOGE has operated in “unusual secrecy,” id. *54, refusing to publicly

acknowledge Musk’s precise role at DOGE, and labelling the publication of names of USDS

employees “a crime.” Id. From this evidence Judge Cooper concluded, “gives rise to the

possibility that representatives of the Defendant entities may not fully appreciate their

obligations to preserve federal records.” Id. *54-55. Heightening this concern, many USDS

“staffers are reported to have joined the federal government only recently and, to put it




                                                 17
     Case 1:25-cv-00527-JEB          Document 11-1         Filed 03/24/25      Page 22 of 25




charitably, may not be steeped in its document retention policies.” Id. *55. All this was enough

for Judge Cooper to conclude that a preservation order was warranted, a conclusion this Court

should reach as well.

       The status of the Administrator, who bears the responsibility to develop and implement

agency-wide recordkeeping guidance, further illustrates the secrecy in which DOGE has cloaked

itself and the need for injunctive relief here. While the White House initially refused to publicly

identify the Administrator, in February it eventually named Amy Gleason as the Administrator.

In a recently unsealed court filing the Trump administration acknowledged Ms. Gleason had

been detailed to HHS in February where she was “formally hired by the department as a

‘consultant/expert’ on March 4, while retaining her status as a DOGE employee as well.” Kyle

Cheney & Megan Messerly, “The person the White House says is leading DOGE has also been

working at HHS,” Politico, Mar. 18, 2025, https://www.politico.com/news/2025/03/18/doge-

leader-human-services-gleason-00237827. Yet, despite earlier questions from federal judges

about DOGE’s leadership and chain of command, attorneys for DOGE never revealed Ms.

Gleason’s dual role. Id. Indeed, in the CREW case in support of its motion for reconsideration

filed on March 14, 2025, Defendants filed a declaration from Ms. Gleason (ECF No. 20-2)

attesting she is “a full-time government employee at USDS.” Gleason Decl. ¶ 3 (Exhibit C

hereto). Tellingly, Ms. Gleason makes no mention of her employment at HHS.

       This newly revealed evidence undermines any confidence that, as Administrator, Ms.

Gleason is properly and effectively fulfilling her recordkeeping responsibilities. The Gleason

Declaration states only that USDS and USDSTO “have obligations to maintain records and do so

pursuant to the [PRA].” Gleason Decl. ¶ 25. While Ms. Gleason states that USDS has informed

employees of their need to “adhere to records-preservation requirements,” id. ¶ 26, she does




                                                 18
     Case 1:25-cv-00527-JEB            Document 11-1         Filed 03/24/25       Page 23 of 25




explain what those requirements are what specifically employees have been told. These vague

statements fall far short of evidence that Ms. Gleason and DOGE are satisfying their obligations

under either statute.

        Nor does the one-sentence assurance DOJ counsel provided—that USDS has taken all

steps to preserve all USDS records consistent with its obligations under the PRA—assuage these

concerns. Left unanswered are what those steps are and the underlying factual basis that would

allow a testing of its accuracy. Indeed, we do not know whether a written recordkeeping policy

even exists for DOGE’s records and whether and to what extent that policy has been

communicated to all DOGE employees. Facts to date, including the ongoing use of Signal, see,

e.g., Scott Patterson, Josh Dawsey & Brian Schwartz, “Inside DOGE’s Clash With the Federal

Workforce, Wall Street Journal, Feb. 27, 2025, https://www.wsj.com/politics/policy/

inside-doge-elon-musk-government-employees-b87fc17a. suggest the answer is no.

        In short, the secrecy with which DOGE operates, its past behavior exhibiting a disregard

for its recordkeeping obligations, and the failure of its counsel to provide a full-throated

assurance that all DOGE records will be preserved in accordance with the FRA during the

pendency of this lawsuit illustrate that absent the requested preliminary injunction, Plaintiff will

suffer irreparable injury. The possibility, if not likelihood, that we will lose part of this history

forever is simply too great a risk to bear.

        III.    DEFENDANTS WILL NOT BE HARMED BY THE REQUESTED RELIEF.

        The immediate relief Plaintiff seeks will require nothing more of Defendants than what

the law already mandates: the collection, maintenance, and preservation of federal records

pursuant to recordkeeping guidance that complies with the FRA and implementing guidance

from NARA. Requiring Defendant to comply with the law cannot properly be characterized as a




                                                  19
     Case 1:25-cv-00527-JEB             Document 11-1      Filed 03/24/25     Page 24 of 25




burden, particularly where an injunction “merely ends an unlawful practice.” Open Cmtys. All. v.

Carson, 286 F. Supp 3d 148, 179 (D.D.C. 2017) (cleaned up).

       IV.     THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR THE
               REQUESTED RELIEF.

       Finally, the balance of equities and the public interest, which “merge” when “the

[g]overnment is the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009), weigh heavily in

favor of the requested preliminary injunction.

       Beyond the harm to Plaintiff, the public interest strongly favors a preliminary injunction

requiring Defendants to comply with their obligations under the FRA. The enormous power that

DOGE wields has impacted Americans across the country and from nearly every walk of life.

DOGE bears responsibility for actions ranging from thousands of government workers losing

their jobs to the decreased security and staffing of our nuclear arsenal. DOGE has amassed

personal and private information about millions of Americans with no guarantee that information

will be safely stored and not shared for improper purposes. Access to records that delineate and

explain DOGE’s actions is critical to hold the agency accountable. Balancing all the interests at

stake leads to the inescapable conclusion that an injunction requiring DOGE to preserve its

records is both necessary and warranted.

                                          CONCLUSION

       For the foregoing reasons Plaintiff respectfully requests that the Court grant Plaintiff’s

request for a preliminary injunction.




                                                 Respectfully submitted,

                                              /s/ Anne L. Weismann



                                                  20
    Case 1:25-cv-00527-JEB   Document 11-1   Filed 03/24/25   Page 25 of 25




                                   Anne L. Weismann
                                   D.C. Bar No. 298190
                                    5335 Wisconsin Avenue,
                                    N.W. Suite 640
                                    Washington, D.C. 20015
                                    (301) 717-6610
                                    weismann.anne@gmail.com
Dated: March 24, 2025




                                     21
